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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Surfside Non−Surgical Orthopedics
                                            Plaintiff,
v.                                                            Case No.: 1:18−cv−00566
                                                              Honorable Sara L. Ellis
Allscripts Healthcare Solutions, Inc.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 16, 2018:


        MINUTE entry before the Honorable Sara L. Ellis: Status hearing held and
continued to 2/12/2018 at 9:30 a.m. for ruling on motion to dismiss. For the reasons stated
on the record, Plaintiff's joint motion for discovery [71] is granted in part and denied in
part. Plaintiff's motion for leave to file under seal [73] is granted. Defendant to re−file its
motion to dismiss by 9/17/2018. Plaintiff's response to be filed by 10/17/2018; reply to be
filed by 11/7/2018. Defendant's motion to dismiss [45] and for leave to file excess pages
][41] are stricken as moot. Mailed notice (mw, )




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